                                                                   Case 18-34658 Document 526 Filed in TXSB on 07/13/20 Page 1 of 9



MOR-1                                                 UNITED STATES BANKRUPTCY COURT
CASE NAME:          HouTex Builders LLC                                                                                PETITION DATE:                 8/23/2018
CASE NUMBER:        18-34658                                                                                           DISTRICT OF TEXAS:         Southern
PROPOSED PLAN DATE:                                                                                                    DIVISION:                  Houston

                           MONTHLY OPERATING REPORT SUMMARY FOR MONTH December *                                                                                      YEAR 2019
                               MONTH September        October           November         December         January            February           March          April            May          June         July          August       September October     November December
REVENUES (MOR-6)                                 0.00              0.00             0.00     2,575,000.00               0.00               0.00           0.00             0.00         0.00         0.00          0.00         0.00       0.00       0.00       0.00 2,400,000.00
INCOME BEFORE INT; DEPREC./TAX (MOR-6)      -1,501.74         -5,398.89        -2,265.93       -23,372.97          -7,173.99          -9,762.31     -24,264.85       -31,975.61    -3,413.74     7,258.49     -1,341.11    -1,602.78    -506.43 -10,607.91 -4,682.81 -554,705.97
NET INCOME (LOSS) (MOR-6)                   -1,502.17         -5,412.22       -18,489.85       -87,300.31         -43,155.84        -41,578.79      -64,719.08       -89,173.59   -44,811.74    -2,746.40    -26,884.55   -21,153.78 -10,631.41 -20,353.73 -14,521.81 -822,041.96
PAYMENTS TO INSIDERS (MOR-9)                     0.00              0.00             0.00             0.00               0.00               0.00           0.00             0.00         0.00         0.00          0.00         0.00       0.00       0.00       0.00         0.00
PAYMENTS TO PROFESSIONALS (MOR-9)                0.00          2,266.00             0.00             0.00               0.00               0.00           0.00         2,693.75         0.00         0.00          0.00         0.00       0.00 7,757.50         0.00    55,186.00
TOTAL DISBURSEMENTS (MOR-8)                  1,501.74          5,388.24        23,157.74        82,068.09          44,752.46          41,123.26      64,069.21        86,550.09    42,130.02    13,330.49     27,271.69    20,110.05   9,532.52 19,211.41 13,416.34      55,309.50

*This monthly operating report includes all amounts from the Petition Date through August 31, 2019
                                                                                                                                                  CIRCLE ONE

REQUIRED INSURANCE MAINTAINED                                      Are all accounts receivable being collected within terms?                      Yes   No
   AS OF SIGNATURE DATE                             EXP.           Are all post-petition liabilities, including taxes, being paid within terms?   Yes   No
________________________________                    DATE           Have any pre-petition liabilities been paid?                                   Yes   No
CASUALTY                    YES (X) NO ( )           11-06-2020     If so, describe
LIABILITY                   YES ( ) NO (X)           ___-___-___   Are all funds received being deposited into DIP bank accounts?                 Yes   No
VEHICLE                     YES ( ) NO (X)           ___-___-___   Were any assets disposed of outside the normal course of business?             Yes   No
WORKER'S                    YES ( ) NO (X)           ___-___-___    If so, describe
OTHER                      YES ( ) NO (X)            ___-___-___   Are all U.S. Trustee Quarterly Fee Payments current?                           Yes   No
                                                                   What is the status of your Plan of Reorganization?



ATTORNEY NAME:      Charles Rubio                                                                  I certify under penalty of perjury that the following complete
FIRM NAME:          Diamond McCarthy LLP                                                           Monthly Operating Report (MOR), consisting of MOR-1 through
ADDRESS:            909 Fannin Street, 37th Floor                                                  MOR-9 plus attachments, is true and correct.

CITY, STATE, ZIP:   Houston, Texas 77010                                                                        Charles Foster
                                                                                                  SIGNED X ___________________________Manager
TELEPHONE/FAX:      713-333-5100                                                                                          (ORIGINAL SIGNATURE)
                                                                                                             Charles Foster
MOR-1                                                                                                       (PRINT NAME OF SIGNATORY)                          DATE
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   CASE NAME:    HouTex Builders LLC
  CASE NUMBER: 18-34658




                                                             COMPARATIVE BALANCE SHEETS
ASSETS                                 MONTH             MONTH            MONTH             MONTH           MONTH               MONTH             MONTH              MONTH             MONTH           MONTH              MONTH            MONTH             MONTH
                                       December          January          February          March           April               May               June               July              August          September          October          November          December
CURRENT ASSETS
Cash                                      150,063.40         152,050.94       150,527.68        86,458.47            1,527.02          4,485.92           3,655.43          1,264.70      151,451.15      151,918.63          132,707.22      119,290.88        569,101.66
Accounts Receivable, Net
Inventory: Lower of Cost or Market
Prepaid Expenses                           21,835.24          19,696.83        17,558.42        15,420.01           13,281.60         11,143.19           9,004.78              0.00            0.00               0.00             0.00              0.00              0.00
Investments
Other
TOTAL CURRENT ASSETS                      171,898.64         171,747.77       168,086.10       101,878.48           14,808.62         15,629.11          12,660.21          1,264.70      151,451.15      151,918.63          132,707.22      119,290.88        569,101.66
PROPERTY, PLANT & EQUIP. @ COST
Less Accumulated Depreciation
NET BOOK VALUE OF PP & E                          0.00             0.00              0.00            0.00                0.00              0.00               0.00              0.00            0.00               0.00             0.00              0.00              0.00
OTHER ASSETS
 1. Tax Deposits
 2. Investments in Subsidiaries
 3. Electric Deposit*                          200.00        200.00        200.00        200.00        200.00        200.00        200.00        200.00        200.00        200.00        200.00        200.00                                                        0.00
 4. Real property*                       3,138,006.72  3,138,006.72  3,138,006.72  3,138,006.72  3,138,006.72  3,138,006.72  3,138,006.72  3,138,006.72  3,138,006.72  3,138,006.72  3,138,006.72  3,138,006.72                                                        0.00
TOTAL ASSETS                           $3,310,105.36 $3,309,954.49 $3,306,292.82 $3,240,085.20 $3,153,015.34 $3,153,835.83 $3,150,866.93 $3,139,471.42 $3,289,657.87 $3,290,125.35 $3,270,913.94 $3,257,497.60                                                 $569,101.66

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        CASE NAME:     HouTex Builders LLC
        CASE NUMBER: 18-34658




                                                                  COMPARATIVE BALANCE SHEETS
LIABILITIES & OWNER'S                        MONTH            MONTH            MONTH            MONTH             MONTH           MONTH              MONTH                MONTH              MONTH            MONTH            MONTH            MONTH            MONTH
EQUITY                                       December         January          February         March            April            May                June                July                August           September        October          November         December
LIABILITIES
POST-PETITION LIABILITIES(MOR-4)                129,934.91        172,939.88       210,857.00      209,368.46        211,472.19         257,104.42          256,381.92          271,870.96      443,211.19       454,310.08        455,452.40      456,557.87       457,700.19
PRE-PETITION LIABILITIES
 Notes Payable - Secured                       3,139,200.44     3,139,200.44     3,139,200.44     3,139,200.44     3,139,200.44    3,139,200.44        3,139,200.44        3,139,200.44        3,139,200.44     3,139,200.44     3,139,200.44     3,139,200.44     1,272,204.14
 Priority Debt
 Federal Income Tax
 FICA/Withholding
 Unsecured Debt                                 540,340.04        540,340.04       540,340.04      540,340.04        540,340.04         540,340.04       540,340.04          540,340.04          540,340.04       540,340.04       540,340.04       540,340.04       540,340.04
 Other - Option fee                                                                                                                                          500.00              500.00              500.00           500.00           500.00           500.00             0.00
TOTAL PRE-PETITION LIABILITIES                 3,679,540.48     3,679,540.48     3,679,540.48     3,679,540.48     3,679,540.48    3,679,540.48        3,680,040.48        3,680,040.48        3,680,040.48     3,680,040.48     3,680,040.48     3,680,040.48     1,812,544.18
TOTAL LIABILITIES                              3,809,475.39     3,852,480.36     3,890,397.48     3,888,908.94     3,891,012.67    3,936,644.90        3,936,422.40        3,951,911.44        4,123,251.67     4,134,350.56     4,135,492.88     4,136,598.35     2,270,244.37
OWNER'S EQUITY (DEFICIT)
PREFERRED STOCK
COMMON STOCK
ADDITIONAL PAID-IN CAPITAL                      -386,665.48      -386,665.48      -386,665.48     -386,665.48       -386,665.48     -386,665.48         -386,665.48         -386,665.48         -386,665.48      -386,665.48      -386,665.48     -386,665.48       -386,665.48
RETAINED EARNINGS: Filing Date
RETAINED EARNINGS: Post Filing Date             -112,704.55      -155,860.39      -197,439.18     -262,158.26       -351,331.85     -396,143.59         -398,889.99         -425,774.54         -446,928.32      -457,559.73      -477,913.46     -492,435.27     -1,314,477.23
TOTAL OWNER'S EQUITY (NET WORTH)                -499,370.03      -542,525.87      -584,104.66     -648,823.74       -737,997.33     -782,809.07         -785,555.47         -812,440.02         -833,593.80      -844,225.21      -864,578.94     -879,100.75     -1,701,142.71
TOTAL
LIABILITIES &
OWNERS EQUITY                                $3,310,105.36    $3,309,954.49    $3,306,292.82    $3,240,085.20    $3,153,015.34    $3,153,835.83      $3,150,866.93       $3,139,471.42       $3,289,657.87    $3,290,125.35    $3,270,913.94    $3,257,497.60      $569,101.66

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 CASE NAME:     HouTex Builders LLC
 CASE NUMBER:   18-34658

                               SCHEDULE OF POST-PETITION LIABILITIES
                                          MONTH               MONTH                MONTH                  MONTH                 MONTH           MONTH           MONTH           MONTH           MONTH              MONTH            MONTH             MONTH
                                          January            February             March                  April                 May             June            July            August          September          October          November          December
TRADE ACCOUNTS PAYABLE
TAX PAYABLE
 Federal Payroll Taxes
 State Payroll Taxes
 Ad Valorem Taxes
 Other Taxes
TOTAL TAXES PAYABLE                                   0.00                 0.00                   0.00                  0.00            0.00            0.00            0.00            0.00               0.00             0.00              0.00              0.00
SECURED DEBT POST-PETITION
ACCRUED INTEREST PAYABLE
ACCRUED PROFESSIONAL FEES*
OTHER ACCRUED LIABILITIES
 1. Accrued interest on DIP Financing               640.55             1,046.96               1,548.22               2,033.31    2,576.62    3,176.17    3,838.65    4,882.38    5,981.27    7,123.59    8,229.06    9,371.38
 2. Dip financing                               157,132.71           196,732.71             196,732.71             198,351.35  243,151.35  243,151.35  268,032.31  438,328.81  448,328.81  448,328.81  448,328.81  448,328.81
 3. Insurance payable                            15,166.62            13,077.33              11,087.53              11,087.53   11,376.45   10,054.40        0.00        0.00        0.00        0.00        0.00        0.00
TOTAL POST-PETITION LIABILITIES (MOR-3)       $172,939.88          $210,857.00            $209,368.46            $211,472.19 $257,104.42 $256,381.92 $271,870.96 $443,211.19 $454,310.08 $455,452.40 $456,557.87 $457,700.19
  *Payment requires Court Approval
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CASE NAME:     HouTex Builders LLC
CASE NUMBER:   18-34658

                                                           AGING OF POST-PETITION LIABILITIES
                                                           MONTH                December

    DAYS               TOTAL                 TRADE               FEDERAL               STATE            AD VALOREM,      Other
                                            ACCOUNTS              TAXES                TAXES            OTHER TAXES
0-30                         1,142.32                                                                                         1,142.32
31-60                        1,105.47                                                                                         1,105.47
61-90                        1,142.32                                                                                         1,142.32
91+                        454,310.08                                                                                       454,310.08
TOTAL                    $457,700.19               $0.00                   $0.00                $0.00            $0.00    $457,700.19

                                                           AGING OF ACCOUNTS RECEIVABLE



   MONTH

0-30 DAYS
31-60 DAYS
61-90 DAYS
91+ DAYS
TOTAL                           $0.00              $0.00                   $0.00                $0.00            $0.00           $0.00

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          CASE NAME:         HouTex Builders LLC
         CASE NUMBER:        18-34658
                                                                                                   STATEMENT OF INCOME (LOSS)
                                                          MONTH                       MONTH                     MONTH          MONTH          MONTH          MONTH            MONTH          MONTH             MONTH           MONTH            MONTH            MONTH          MONTH            FILING TO
                                                           December         January           February      March                             April          May              June           July              August          September        October          November     December      DATE
REVENUES       (MOR-1)                                         2,575,000.00                                                                                                                                                                                                    2,400,000.00    4,975,000.00
TOTAL COST OF REVENUES                                         2,596,034.78         -2,000.00                                                                                                                                                                                  2,899,307.97    5,493,342.75
GROSS PROFIT                                                     -21,034.78          2,000.00          0.00                            0.00           0.00             0.00           0.00              0.00            0.00             0.00             0.00           0.00   -499,307.97     -518,342.75
OPERATING EXPENSES:
   Selling & Marketing                                                                                                                                                         -12,000.00                                                                                                              -12,000.00
   General & Administrative                                             2,338.19                    6,710.58       7,623.90      22,126.44       25,518.45         1,275.33      2,603.10           1,415.73       1,602.78            962.32       1,875.41        1,215.18            212.00          78,865.93
   Insiders Compensation                                                                                                                                                                                                                                                                                     0.00
   Professional Fees                                                                                                                              2,693.75                                                                                          7,757.50                        55,186.00           67,903.25
   Insurance                                                                                        2,138.41       2,138.41       2,138.41        2,138.41         2,138.41      2,138.41       -1,049.62                           -455.89                         3,467.63                            17,981.62
   Trustee fees                                                                                       325.00                                      1,625.00                                         975.00                                             975.00                                             4,225.00
TOTAL OPERATING EXPENSES                                               2,338.19                     9,173.99       9,762.31       24,264.85      31,975.61      3,413.74        -7,258.49        1,341.11          1,602.78          506.43        10,607.91         4,682.81       55,398.00          156,975.80
INCOME BEFORE INT, DEPR/TAX (MOR-1)                                  -23,372.97                    -7,173.99      -9,762.31      -24,264.85     -31,975.61     -3,413.74         7,258.49       -1,341.11         -1,602.78         -506.43       -10,607.91        -4,682.81     -554,705.97         -675,318.55
INTEREST EXPENSE                                                      63,927.34                    35,981.85      31,816.48       40,454.23      57,197.98     41,398.00        10,004.89       25,543.44         19,551.00       10,124.98         9,745.82         9,839.00      267,335.99          639,158.68
DEPRECIATION                                                                                                                                                                                                                                                                                                 0.00
OTHER (INCOME) EXPENSE*                                                                                                                                                                                                                                                                                      0.00
OTHER ITEMS**                                                                                                                                                                                                                                                                                                0.00
TOTAL INT, DEPR & OTHER ITEMS                                         63,927.34                     35,981.85      31,816.48      40,454.23      57,197.98      41,398.00       10,004.89       25,543.44         19,551.00       10,124.98         9,745.82         9,839.00      267,335.99          639,158.68
NET INCOME BEFORE TAXES                                              -87,300.31                    -43,155.84     -41,578.79     -64,719.08     -89,173.59     -44,811.74       -2,746.40      -26,884.55        -21,153.78      -10,631.41       -20,353.73       -14,521.81     -822,041.96       -1,314,477.23
FEDERAL INCOME TAXES                                                                                                                                                                                                                                                                                         0.00
NET INCOME (LOSS) (MOR-1)                                         ($87,300.31)                ($43,155.84) ($41,578.79) ($64,719.08) ($89,173.59) ($44,811.74) ($2,746.40) ($26,884.55) ($21,153.78) ($10,631.41) ($20,353.73) ($14,521.81) ($822,041.96)                                         ($1,314,477.23)
Accrual Accounting Required, Otherwise Footnote with Explanation.
* Footnote Mandatory.
* * Unusual and/or infrequent item(s) outside the ordinary course of business requires footnote.
               MOR-6
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  CASE NAME:        HouTex Builders LLC
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CASH RECEIPTS AND                                             MONTH                MONTH                MONTH             MONTH              MONTH             MONTH          MONTH        MONTH           MONTH             MONTH             MONTH              MONTH             MONTH              FILING TO
DISBURSEMENTS                                                 December             January              February          March              April             May            June         July            August            September         October            November          December           DATE
 1. CASH-BEGINNING OF MONTH                                            $495.48         $150,063.40       $152,050.94       $150,527.68 $86,458.47 $1,527.02 $4,485.92 $3,655.43                               $1,264.70      $151,451.15       $151,918.63        $132,707.22       $119,290.88                    $0.00
RECEIPTS:
 2. CASH SALES                                                                                                                                                                                                                                                                                                    0.00
 3. COLLECTION OF ACCOUNTS RECEIVABLE                                                                                                                                                                                                                                                                             0.00
 4. LOANS & ADVANCES (attach list)***                                81,849.51             44,740.00         39,600.00                           1,618.64 44,800.00                         24,880.96        170,296.50          10,000.00                                                                  448,328.81
 5. SALE OF ASSETS                                                  149,786.50                                                                                                                                                                                                        505,120.28            654,906.78
 6. OTHER (attach list)****                                                                 2,000.00                                                         288.92 12,500.00                                                                                                                                14,788.92
TOTAL RECEIPTS**                                                    231,636.01             46,740.00         39,600.00                0.00       1,618.64 45,088.92 12,500.00 24,880.96                      170,296.50          10,000.00                 0.00              0.00     505,120.28          1,118,024.51
(Withdrawal) Contribution by Individual Debtor MFR-2*                                                                                                                                                                                                                                                             0.00
DISBURSEMENTS:
 7. NET PAYROLL                                                                                                                                                                                                                                                                                                   0.00
 8. PAYROLL TAXES PAID                                                                                                                                                                                                                                                                                            0.00
 9. SALES, USE & OTHER TAXES PAID                                                                                                                      50.00                                                                                                                                                     50.00
10. SECURED/RENTAL/LEASES                                                                                                                                                                                                                                                                                         0.00
11. UTILITIES & TELEPHONE                                                187.78                 77.46           410.54              180.70           323.56          724.33       798.10          531.73        1,440.78              567.37             927.41         289.32              111.50            8,957.10
12. INSURANCE                                                          1,989.80              2,089.29         2,089.29            2,094.29                                      1,322.05                                             -455.89                          3,467.63                               20,513.44
13. INVENTORY PURCHASES                                                                                                                                                                                                                                                                                           0.00
14. INTEREST EXPENSES                                                 79,878.51            35,627.59         31,410.07         39,952.97        56,712.89 40,854.69             9,405.34 24,880.96             18,507.27          9,026.09          8,603.50          8,733.53                              379,746.63
15. TRAVEL & ENTERTAINMENT                                                                                                                                                                                                                                                                                        0.00
16. REPAIRS, MAINTENANCE & SUPPLIES                                                          6,383.12         7,213.36         21,841.25        25,144.89            542.00     1,805.00          875.00            150.00           300.00              948.00           925.86               12.00         67,132.48
17. ADMINISTRATIVE & SELLING                                               12.00               250.00                                                                  9.00                         9.00             12.00            94.95                                                                     394.95
18. OTHER (attach list)                                                                                                                                                                                                                                                                                           0.00
TOTAL DISBURSEMENTS FROM OPERATIONS                                   82,068.09            44,427.46         41,123.26         64,069.21        82,231.34 42,130.02 13,330.49 26,296.69                        20,110.05          9,532.52         10,478.91         13,416.34            123.50            476,794.60
19. PROFESSIONAL FEES                                                                                                                            2,693.75                                                                                           7,757.50                           55,186.00             67,903.25
20. U.S. TRUSTEE FEES                                                                          325.00                                            1,625.00                        975.00                                                               975.00                                                  4,225.00
21. OTHER REORGANIZATION EXPENSES (attach list)                                                                                                                                                                                                                                                                   0.00
TOTAL DISBURSEMENTS**                                                82,068.09            44,752.46   41,123.26               64,069.21         86,550.09 42,130.02 13,330.49 27,271.69   20,110.05    9,532.52   19,211.41   13,416.34   55,309.50                                                         548,922.85
22. NET CASH FLOW                                                   149,567.92             1,987.54   -1,523.26              -64,069.21        -84,931.45 2,958.90    -830.49 -2,390.73  150,186.45      467.48  -19,211.41  -13,416.34  449,810.78                                                         569,101.66
23. CASH - END OF MONTH (MOR-2)                                   $150,063.40          $152,050.94 $150,527.68              $86,458.47         $1,527.02 $4,485.92 $3,655.43 $1,264.70 $151,451.15 $151,918.63 $132,707.22 $119,290.88 $569,101.66                                                        $569,101.66
                                                         * Applies to Individual debtors only
              MOR-7                                      **Numbers for the current month should balance (match)
                                                        *** Advance from Charles Foster
                                                        **** January - Refund from construction vendor on home sold in prior month
                                                        **** May - Refund of prepaid insurance
                                                        **** June - 12,000 return of escrow from sale of asset prior to bankrupty and 500 option fee
                                                            RECEIPTS and CHECKS/OTHER DISBURSEMENTS lines on MOR-8
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      CASE NAME:     HouTex Builders LLC
      CASE NUMBER:   18-34658

                                                CASH ACCOUNT RECONCILIATION
                                                 MONTH OF December
BANK NAME                       Frost Bank
ACCOUNT NUMBER                  #*****6345              #                                    #
ACCOUNT TYPE                           OPERATING                           PAYROLL               TAX           OTHER FUNDS      TOTAL
BANK BALANCE                                 569,101.66                                                                          $569,101.66
DEPOSITS IN TRANSIT                                                                                                                    $0.00
OUTSTANDING CHECKS                                                                                                                     $0.00
ADJUSTED BANK BALANCE                      $569,101.66                               $0.00             $0.00            $0.00    $569,101.66
BEGINNING CASH - PER BOOKS                   119,290.88                                                                          $119,290.88
RECEIPTS*                                    505,120.28                                                                          $505,120.28
TRANSFERS BETWEEN ACCOUNTS                                                                                                             $0.00
(WITHDRAWAL) OR CONTRIBUTION BY
INDIVIDUAL        DEBTOR MFR-2                                                                                                         $0.00
CHECKS/OTHER DISBURSEMENTS*                             55,309.50                                                                 $55,309.50
ENDING CASH - PER BOOKS                              $569,101.66                     $0.00             $0.00            $0.00    $569,101.66

MOR-8                                      *Numbers should balance (match) TOTAL RECEIPTS and
                                            TOTAL DISBURSEMENTS lines on MOR-7
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CASE NAME:        HouTex Builders LLC
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                                    PAYMENTS TO INSIDERS AND PROFESSIONALS
Of the total disbursements shown for the month, list the amount paid to insiders (as defined in Section 101(31)(A)-(F) of the U.S. Bankruptcy Code) and the professionals.
Also, for insiders, identify the type of compensation paid (e.g., salary, commission, bonus, etc.) (Attach additional pages as necessary).
                                                 MONTH                    MONTH                    MONTH        MONTH         MONTH       MONTH          MONTH               MONTH          MONTH          MONTH           MONTH          MONTH        MONTH          MONTH
  INSIDERS: NAME/COMP TYPE                        November                December                 January February March                April           May              June              July           August          September October           November       December

 1.
 2.
 3.
 4.
 5.
 6.
TOTAL INSIDERS (MOR-1)                                           $0.00                    $0.00       $0.00         $0.00       $0.00            $0.00          $0.00            $0.00             $0.00        $0.00          $0.00          $0.00        $0.00           $0.00

                                                 MONTH                    MONTH                    MONTH        MONTH         MONTH       MONTH          MONTH               MONTH          MONTH          MONTH           MONTH          MONTH        MONTH          MONTH
         PROFESSIONALS                           November                 December                 January February March                April           May              June              July           August          September October           November       December

 1. Schmuck, Smith, Tees & Co PC                                                                                                            2,693.75               0.00              0.00           0.00            0.00           0.00     7,757.50           0.00          0.00
 2. Diamond McCarthy LLP                                                                                                                                                                                                                                                55,186.00
 3.
 4.
 5.
 6.
TOTAL PROFESSIONALS (MOR-1)                                      $0.00                    $0.00       $0.00         $0.00       $0.00 $2,693.75                 $0.00            $0.00             $0.00        $0.00          $0.00      $7,757.50        $0.00      $55,186.00

    MOR-9
